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                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

  IN RE:                        §                             CHAPTER 11
                                §
  KRISJENN RANCH, LLC, KRISJENN §                             CASE NO. 20-50805
  RANCH, LLC, SERIES UVALDE     §
  RANCH, KRISJENN RANCH, LLC    §
  SERIES PIPELINE ROW           §
                                §
       DEBTOR                   §

                        NOTICE OF RESET OF CREDITORS’ MEETING

  TO ALL PARTIES IN INTEREST:

         The creditors’ meeting in this case that was previously set for June 1, 2020 at 10:30

  a.m. has been reset to June 8, 2020 at 11:00 a.m. All existing deadlines from the Court’s Notice

  and Order issued in Document Number 14 shall remain the same and the meeting will still

  be held telephonically by dialing (866) 909-2905; Code: 5519921#.

  Dated: June 1, 2020

                               Respectfully Submitted,


                               MULLER SMEBERG, PLLC
                               By:     /s/ Ronald J. Smeberg                                .
                                       RONALD J. SMEBERG
                                       State Bar No. 24033967
                                       MULLER SMEBERG, PLLC
                                       111 W. Sunset Rd.
                                       San Antonio, TX 78209
                                       210-664-5000 (Tel)
                                       210-598-7357 (Fax)
                                       ron@smeberg.com
                                       PROPOSED ATTORNEY FOR DEBTOR




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                                    CERTIFICATE OF SERVICE

         I hereby certify that on June 1, 2020, true and correct copies of the foregoing motion will

  be forwarded electronically via the Court’s ECF System, or by U.S. first class mail, postage

  prepaid, on, all parties listed on the attached Service List.

                                         /s/ Ronald J. Smeberg
                                         RONALD J. SMEBERG



                                            SERVICE LIST

  DEBTOR                               Austin, TX 78714-9359            METTAUER LAW FIRM
                                                                        c/o April Prince
  KrissJenn Ranch, LLC                 Angelina County Tax              403 Nacogdoches St Ste 1
  410 Spyglass Rd                      Assessor                         Center, TX 75935-3810
  Mc Queeney, TX 78123-                606 E Lufkin Ave,
  3418                                 Lufkin, Texas 75901              Albert, Neely & Kuhlmann
                                                                        1600 Oil & Gas Building
  GOVERNMENT                           Nacogdoches County Tax           309 W 7th St
  ENTITIES                             Assessor Collector               Fort Worth, TX 76102-
                                       101 West Main Street             6900
  Office of the UST                    Nacogdoches, Texas 75961
  615 E Houston, Room 533                                               McLeod Oil, LLC
  PO Box 1539                          Rusk County                      c/o Laura L. Worsham
  San Antonio, TX 78295-               202 N Main St,                   Jones, Allen & Fuquay,
  1539                                 Henderson, Texas 75652           LLP
                                                                        8828 Greenville Ave.
  U.S. Attorney                        Shelby County, Tax               Dallas, Texas 75243
  Attn: Bkcy Division                  Collector
  601 NW Loop 410, Suite               200 St. Augustine St.            Craig Crockett
  600                                  Center, Texas 75935              Craig M. Crockett, PC
  San Antonio, Texas 78216                                              5201 Camp Bowie Blvd.
                                       Tenaha ISD Tax Assessor-         #200
  Internal Revenue Services            Collector                        Fort Worth, Texas 76107
  Special Procedures Branch            138 College St
  300 E. 8th St. STOP 5026             Tenaha, TX 75974-5612            Christopher S. Johns
  AUS                                                                   JOHNS &COUNSEL
  Austin, TX 78701                     Uvalde Tax Assessor              PLLC
                                       Courthouse Plaza, Box 8          14101 Highway 290 West,
  Texas Comptroller of                 Uvalde, Texas 78801              ste 400A
  Public Account                                                        Austin, Texas 78737
  Attn: Bankruptcy                     NOTICE PARTIES
  P.O. Box 149359                                                       Timothy Cleveland

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  CLEVELAND|TERRAZA            McCreary, Veselka, Bragg    Hopper's Soft Water
  S PLLC                       & Allen, P.C.,              Service
  4611 Bee Cave Road, ste      P. O. Box 1269,             120 W Frio St
  306B                         Round Rock, Texas 78680     Uvalde, TX 78801-3602
  Austin, Texas 78746
                               SECURED                     Larry Wright
  Andrew R. Seger              CREIDITORS                  410 Spyglass Rd
  KEY TERRELL &                                            Mc Queeney, TX 78123-
  SEGER                        McLeod Oil, LLC             3418
  4825 50th Street, ste A      c/o John W. McLeod, Jr.
  Lubbock, Texas 79414         700 N Wildwood Dr           Medina Electric
                               Irving, TX 75061-8832       2308 18th St.
  Longbranch Energy, LP                                    Po Box 370
  and DMA Properties, Inc.     UNSECURED                   Hondo, TX 78861-0370
  c/o Mr. Michael J. Black     CREIDITORS
  BURNS & BLACK, PLLC                                      Medina's Pest Control
  750 Rittiman Road            Bigfoot Energy Services     1490 S Homestead Rd
  San Antonio, Texas 78209-    312 W Sabine St             Uvalde, TX 78801-7625
  5500                         Carthage, TX 75633-2519
                                                           Texas Farm Store
  Nacogdoches County, et al.   C&W Fuels, Inc.             236 E Nopal St
  c/o Tab Beall                Po Box 40                   Uvalde, TX 78801-5317
  Perdue, Brandon, Fielder,    Hondo, TX 78861-0040
  Collins & Mott, LLP                                      Uvalco Supply
  PO Box 2007                  Davis, Cedillo & Mendoza    2521 E Main St
  Tyler, TX 75710-2007         755 E Mulberry Ave Ste      Uvalde, TX 78801-4940
                               500
  Shelby County                San Antonio, TX 78212-      Longbranch Energy
  Angelina County              3135                        c/o DUKE BANISTER
  c/o John Dillman                                         RICHMOND
  Linebarger Goggan Blair &    Granstaff Gaedke &          Po Box 175
  Sampson, LLP                 Edgmon                      Fulshear, TX 77441-0175
  PO Box 3064                  5535 Fredericksburg Rd
  Houston, TX 77253-3064       Ste 110                     DMA Properties, Inc.
                               San Antonio, TX 78229-      896 Walnut Street at US
  The County of Guadalupe,     3553                        123 BYP
  Texas                                                    Seneca, SC 29678
  c/o Tara LeDay




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